           Case 1:19-cv-03051-WMR Document 5 Filed 07/25/19 Page 1 of 2



                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF GEORGIA

                                         :
Towanda Taylor,                          :
                                         :
                    Plaintiff,           :
      v.                                 : Civil Action No.:
                                         : 1:19-cv-03051-WMR-JSA
Pioneer Credit Recovery, Inc.,; and      :
DOES 1-10, inclusive,                    :                                          (
                                         :                                          D
                    Defendants.          :                                          R
                                         :                                          H


               PLAINTIFF TOWANDA TAYLOR’S NOTICE OF
              VOLUNTARY DISMISSAL WITHOUT PREJUDICE

      Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i) and L.R. 41.1, Plaintiff Towanda

Taylor, through counsel, hereby withdraws the complaint and voluntarily dismisses

this action without prejudice.

Dated: July 25, 2019


                                          Respectfully submitted,

                                          /s/ Sergei Lemberg, Esq.
                                          Attorney Bar No.: 598666
                                          Attorney for Plaintiff Towanda Taylor
                                          LEMBERG LAW, L.L.C.
                                          43 Danbury Road, 3rd Floor
                                          Wilton, CT 06897
                                          Telephone: (203) 653-2250
                                          Facsimile: (203) 653-3424
          Case 1:19-cv-03051-WMR Document 5 Filed 07/25/19 Page 2 of 2



                         CERTIFICATE OF SERVICE

      I hereby certify that on July 25, 2019, a true and correct copy of the

foregoing Notice Of Voluntary Dismissal With Prejudice was filed with the Clerk

of Court via the CM/ECF System and that the document is available on ECF

system.

                                     /s/ Sergei Lemberg
                                     Georgia Bar No. 598666
                                     Attorney for Plaintiffs

LEMBERG LAW, L.L.C.
43 Danbury Road, 3rd Floor
Wilton, CT 06897
Telephone: (203) 653-2250
Facsimile: (203) 653-3424
